            Case 22-20823-GLT                      Doc 60    Filed 07/05/22 Entered 07/05/22 23:55:08                            Desc Main
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  Fill in this information to identify the case:

               U Lock Inc
  Debtor name __________________________________________________________________


  United States Bankruptcy Court for the:_______________________________
                                          Western District of Pennsylvania
  Case number (If known):
                               22-20823
                              _________________________                                                                              Check if this is an
                                                                                                                                        amended filing


Official Form 206A/B
Sche dule A/B: Asse t s — Re a l a nd Pe rsona l Prope r t y                                                                                      12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include
all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have
no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired
leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.


Pa rt 1 :   Ca sh a nd c a sh e quiva le nt s

1. Does the debtor have any cash or cash equivalents?

    No. Go to Part 2.
    Yes. Fill in the information below.
    ✔




     All cash or cash equivalents owned or controlled by the debtor                                                               Current value of debtor’s
                                                                                                                                  interest

2. Cash on hand                                                                                                                  $______________________
                                                                                                                                   1,115.00

3. Checking, savings, money market, or financial brokerage accounts (Identify all)

    Name of institution (bank or brokerage firm)                Type of account                Last 4 digits of account number
          Citizens Bank
    3.1. _________________________________________________    Checking
                                                             ______________________            3
                                                                                               ____  8
                                                                                                    ____ 0
                                                                                                         ____ 2
                                                                                                              ____               $______________________
                                                                                                                                   266.30
    3.2. _________________________________________________
          Citizens Bank (second account under $100, dormant) ______________________
                                                              Checking                         ____
                                                                                               9    ____
                                                                                                     9   ____
                                                                                                         9    ____
                                                                                                              9                    Unknown
                                                                                                                                 $______________________


4. Other cash equivalents (Identify all)
         Check 2017 from Clawson Unit 11
   4.1. _____________________________________________________________________________________________________                      60.00
                                                                                                                                 $______________________
          See continuation sheet
    4.2. _____________________________________________________________________________________________________                     435.00
                                                                                                                                 $______________________

5. Total of Part 1                                                                                                                 1,876.30
                                                                                                                                 $______________________
   Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.



Pa rt 2 :   De posit s a nd pre pa ym e nt s

6. Does the debtor have any deposits or prepayments?

    No. Go to Part 3.
    Yes. Fill in the information below.
    ✔


                                                                                                                                   Current value of
                                                                                                                                   debtor’s interest
7. Deposits, including security deposits and utility deposits

    Description, including name of holder of deposit
          West Penn Power -- Electric Deposit
    7.1. ________________________________________________________________________________________________________                 $______________________
                                                                                                                                    Unknown
    7.2._________________________________________________________________________________________________________                 $_______________________


   Official Form 206A/B                                     Schedule A/B: Assets  Real and Personal Property                                 page 1
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8. Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
    Description, including name of holder of prepayment

    8.1.___________________________________________________________________________________________________________                $______________________
    8.2.___________________________________________________________________________________________________________                $_______________________

9. Total of Part 2.
                                                                                                                                  $______________________
                                                                                                                                    0.00
   Add lines 7 through 8. Copy the total to line 81.



Pa rt 3 :   Ac c ount s re c e iva ble

10. Does the debtor have any accounts receivable?

      No. Go to Part 4.
      ✔


      Yes. Fill in the information below.
                                                                                                                                   Current value of debtor’s
                                                                                                                                   interest
11. Accounts receivable

     11a. 90 days old or less:    ____________________________ – ___________________________          = ........                 $______________________
                                   face amount                   doubtful or uncollectible accounts

     11b. Over 90 days old:        ___________________________ – ___________________________          = ........                 $______________________
                                    face amount                  doubtful or uncollectible accounts


12. Total of Part 3
                                                                                                                                  $______________________
     Current value on lines 11a + 11b = line 12. Copy the total to line 82.


Pa rt 4 :   I nve st me nt s

13. Does the debtor own any investments?
      No. Go to Part 5.
      ✔


      Yes. Fill in the information below.
                                                                                                         Valuation method          Current value of debtor’s
                                                                                                         used for current value    interest

14. Mutual funds or publicly traded stocks not included in Part 1
    Name of fund or stock:
    14.1. ________________________________________________________________________________               _____________________    $________________________
    14.2. ________________________________________________________________________________               _____________________    $________________________



15. Non-publicly traded stock and interests in incorporated and unincorporated businesses,
    including any interest in an LLC, partnership, or joint venture

    Name of entity:                                                                 % of ownership:
    15.1._______________________________________________________________            ________%            _____________________    $________________________
    15.2._______________________________________________________________            ________%            _____________________    $________________________

16. Government bonds, corporate bonds, and other negotiable and non-negotiable
    instruments not included in Part 1
    Describe:

    16.1.________________________________________________________________________________                ______________________   $_______________________
    16.2.________________________________________________________________________________                ______________________   $_______________________



17. Total of Part 4
                                                                                                                                  $______________________
     Add lines 14 through 16. Copy the total to line 83.



Official Form 206A/B                                         Schedule A/B: Assets  Real and Personal Property                                 page 2
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               Name




Pa rt 5 :   I nve nt ory, e x c luding a gric ult ure a sse t s

18. Does the debtor own any inventory (excluding agriculture assets)?
      No. Go to Part 6.
      Yes. Fill in the information below.
      ✔




      General description                              Date of the last         Net book value of        Valuation method used      Current value of
                                                       physical inventory       debtor's interest        for current value          debtor’s interest
                                                                                (Where available)
19. Raw materials
    ________________________________________                 ______________                                                        $______________________
                                                             MM / DD / YYYY
                                                                                $__________________       ______________________

20. Work in progress
    ________________________________________                 ______________                                                        $______________________
                                                             MM / DD / YYYY
                                                                                $__________________       ______________________

21. Finished goods, including goods held for resale
    ________________________________________                 ______________                                                        $______________________
                                                             MM / DD / YYYY
                                                                                $__________________       ______________________

22. Other inventory or supplies
                                                              07/01/2022                                   estimation                20.00
  20 pound propane tank
   ________________________________________                  ______________                                                        $______________________
                                                             MM / DD / YYYY
                                                                                $__________________       ______________________


23. Total of Part 5                                                                                                                  17,535.00
                                                                                                                                   $______________________
     Add lines 19 through 22. Copy the total to line 84.

24. Is any of the property listed in Part 5 perishable?
     
     ✔ No
      Yes
25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?

      No
      ✔


      Yes. Book value _______________              Valuation method____________________ Current value______________
26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
     
     ✔ No
      Yes
Pa rt 6 :   Fa rm ing a nd fishing-re la t e d a sse t s (ot he r t ha n t it le d m ot or ve hic le s a nd la nd)

27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
      No. Go to Part 7.
      ✔



      Yes. Fill in the information below.
      General description                                                       Net book value of        Valuation method used      Current value of debtor’s
                                                                                debtor's interest        for current value          interest
                                                                                (Where available)
28. Crops—either planted or harvested
    ______________________________________________________________               $________________         ____________________    $______________________

29. Farm animals Examples: Livestock, poultry, farm-raised fish

    ______________________________________________________________               $________________         ____________________    $______________________

30. Farm machinery and equipment (Other than titled motor vehicles)

    ______________________________________________________________               $________________         ____________________    $______________________

31. Farm and fishing supplies, chemicals, and feed

    ______________________________________________________________               $________________         ____________________    $______________________

32. Other farming and fishing-related property not already listed in Part 6
    ______________________________________________________________               $________________         ____________________    $______________________


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               Name




33. Total of Part 6.
                                                                                                                               $______________________
     Add lines 28 through 32. Copy the total to line 85.

34. Is the debtor a member of an agricultural cooperative?

      No
      Yes. Is any of the debtor’s property stored at the cooperative?
        No
        Yes
35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?

      No
      Yes. Book value $_______________ Valuation method ____________________ Current value $________________
36. Is a depreciation schedule available for any of the property listed in Part 6?

      No
      Yes
37. Has any of the property listed in Part 6 been appraised by a professional within the last year?

      No
      Yes

Pa rt 7 :   Offic e furnit ure , fix t ure s, a nd e quipm e nt ; a nd c olle c t ible s

38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      ✔


      Yes. Fill in the information below.

    General description                                                          Net book value of    Valuation method          Current value of debtor’s
                                                                                 debtor's interest    used for current value    interest
                                                                                 (Where available)
39. Office furniture

                                                                                  $________________   ____________________     $______________________
40. Office fixtures

                                                                                  $________________   ____________________     $______________________
41. Office equipment, including all computer equipment and
   communication systems equipment and software
                                                                                  $________________   ____________________     $______________________


42. Collectibles Examples: Antiques and figurines; paintings, prints, or other
   artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
   or baseball card collections; other collections, memorabilia, or collectibles

    42.1___________________________________________________________               $________________    ____________________    $______________________
    42.2___________________________________________________________               $________________    ____________________    $______________________
    42.3___________________________________________________________               $________________    ____________________    $______________________
43. Total of Part 7.
    Add lines 39 through 42. Copy the total to line 86.                                                                        $______________________

44. Is a depreciation schedule available for any of the property listed in Part 7?

      No
      Yes
45. Has any of the property listed in Part 7 been appraised by a professional within the last year?
      No
      Yes
Official Form 206A/B                                          Schedule A/B: Assets  Real and Personal Property                             page 4
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 Debtor
                 U Lock Inc
                                                          Document
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                Name




Pa rt 8 : M a c hine ry, e quipme nt , a nd ve hic le s

46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
     
     ✔
       Yes. Fill in the information below.


    General description                                                    Net book value of    Valuation method used    Current value of
                                                                           debtor's interest    for current value        debtor’s interest
    Include year, make, model, and identification numbers (i.e., VIN,
                                                                           (Where available)
    HIN, or N-number)

47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

          Blue Ford with Snow Plow                                                               unknown                  Unknown
    47.1___________________________________________________________         $________________    ____________________   $______________________
          Ford F250 Custom Green and Red                                                         estimation of scrap      100.00
    47.2___________________________________________________________         $________________    ____________________   $______________________
          GMC Flatbed                                                        0.00                scrap estimation         100.00
    47.3___________________________________________________________         $________________    ____________________   $______________________

    47.4___________________________________________________________         $________________    ____________________   $______________________

48. Watercraft, trailers, motors, and related accessories Examples: Boats,
    trailers, motors, floating homes, personal watercraft, and fishing vessels

    48.1__________________________________________________________         $________________     ____________________   $______________________

    48.2__________________________________________________________         $________________     ____________________   $______________________

49. Aircraft and accessories

    49.1__________________________________________________________         $________________     ____________________   $______________________

    49.2__________________________________________________________         $________________     ____________________   $______________________

50. Other machinery, fixtures, and equipment
    (excluding farm machinery and equipment)
    See continuation sheet
                                                                             0.00                                         21,000.00
    ______________________________________________________________         $________________     ____________________   $______________________


51. Total of Part 8.                                                                                                      21,200.00
                                                                                                                        $______________________
    Add lines 47 through 50. Copy the total to line 87.



52. Is a depreciation schedule available for any of the property listed in Part 8?
     
     ✔ No
      Yes
53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
     
     ✔ No
      Yes




 Official Form 206A/B                                     Schedule A/B: Assets  Real and Personal Property                        page 5
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 Debtor                                                         Document
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                  Name




Pa rt 9 :    Re a l prope rt y

54. Does the debtor own or lease any real property?
        No. Go to Part 10.
        Yes. Fill in the information below.
       ✔



55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

       Description and location of property                   Nature and extent      Net book value of    Valuation method used    Current value of
       Include street address or other description such as    of debtor’s interest   debtor's interest    for current value        debtor’s interest
       Assessor Parcel Number (APN), and type of property     in property            (Where available)
       (for example, acreage, factory, warehouse, apartment
       or office building), if available.
       14140 U.S. Route 30, North Huntingdon,     See attached.
55.1
       Pennsylvania. Westmoreland County TAX Map.
                                                                                      325,000.00          estimation                1,900,000.00
       54-03-10-0-103.                                                               $_______________     ____________________     $_____________________

55.2

                                                                                     $_______________     ____________________     $_____________________

55.3

                                                                                     $_______________     ____________________     $_____________________


56. Total of Part 9.                                                                                                                1,900,000.00
                                                                                                                                   $_____________________
       Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.

57. Is a depreciation schedule available for any of the property listed in Part 9?
       
       ✔ No
        Yes
58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
       
       ✔ No
        Yes
Pa rt 1 0 : I nt a ngible s a nd int e lle c t ua l prope rty

59. Does the debtor have any interests in intangibles or intellectual property?
        No. Go to Part 11.
       ✔


        Yes. Fill in the information below.
        General description                                                          Net book value of    Valuation method         Current value of
                                                                                     debtor's interest    used for current value   debtor’s interest
                                                                                     (Where available)
60. Patents, copyrights, trademarks, and trade secrets
       ______________________________________________________________                $_________________   ______________________   $____________________

61. Internet domain names and websites
       ______________________________________________________________                $_________________   ______________________    $____________________

62. Licenses, franchises, and royalties
       ______________________________________________________________                $_________________   ______________________    $____________________

63. Customer lists, mailing lists, or other compilations
       ______________________________________________________________                $_________________   ______________________    $____________________

64. Other intangibles, or intellectual property
       ______________________________________________________________                 $________________   _____________________    $____________________
65. Goodwill
       ______________________________________________________________                 $________________   _____________________    $____________________

66. Total of Part 10.
                                                                                                                                   $____________________
       Add lines 60 through 65. Copy the total to line 89.




 Official Form 206A/B                                            Schedule A/B: Assets  Real and Personal Property                            page 6
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67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?
     No
     Yes
68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
     No
     Yes
69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
     No
     Yes
Pa rt 1 1 : All ot he r a sse t s

70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.
     No. Go to Part 12.
     Yes. Fill in the information below.
      ✔

                                                                                                                                       Current value of
                                                                                                                                       debtor’s interest
71. Notes receivable
     Description (include name of obligor)
                                                                          _______________ –   __________________________         =   $_____________________
     ______________________________________________________
                                                                          Total face amount   doubtful or uncollectible amount

72. Tax refunds and unused net operating losses (NOLs)

     Description (for example, federal, state, local)

     _________________________________________________________________________________
                                                                                                            Tax year ___________      $_____________________
     _________________________________________________________________________________
                                                                                                            Tax year ___________      $_____________________
     _________________________________________________________________________________
                                                                                                            Tax year ___________      $_____________________

73. Interests in insurance policies or annuities
    ______________________________________________________________                                                                    $_______________________

74. Causes of action against third parties (whether or not a lawsuit
    has been filed)
     See continuation sheet
    ______________________________________________________________                                                                      104,000.00
                                                                                                                                      $_______________________
    Nature of claim                    ___________________________________

    Amount requested                   $________________

75. Other contingent and unliquidated claims or causes of action of
    every nature, including counterclaims of the debtor and rights to
    set off claims
    ______________________________________________________________                                                                    $_______________________

    Nature of claim                    ___________________________________

    Amount requested                   $________________

76. Trusts, equitable or future interests in property

    ______________________________________________________________                                                                     $_____________________

77. Other property of any kind not already listed Examples: Season tickets,
    country club membership
   ____________________________________________________________                                                                       $_____________________
   ____________________________________________________________                                                                       $_____________________
78. Total of Part 11.
                                                                                                                                        104,000.00
                                                                                                                                      $_____________________
    Add lines 71 through 77. Copy the total to line 90.

79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
    
    ✔ No
     Yes
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                  Name




Pa rt 1 2 :     Sum ma ry



In Part 12 copy all of the totals from the earlier parts of the form.


       Type of property                                                                             Current value of                       Current value
                                                                                                    personal property                      of real property
                                                                                                         1,876.30
80. Cash, cash equivalents, and financial assets. Copy line 5, Part 1.                                 $_______________

                                                                                                         0.00
81. Deposits and prepayments. Copy line 9, Part 2.                                                     $_______________

                                                                                                         0.00
82. Accounts receivable. Copy line 12, Part 3.                                                         $_______________

                                                                                                         0.00
83. Investments. Copy line 17, Part 4.                                                                 $_______________
                                                                                                         17,535.00
84. Inventory. Copy line 23, Part 5.                                                                   $_______________
                                                                                                         0.00
85. Farming and fishing-related assets. Copy line 33, Part 6.                                          $_______________

86. Office furniture, fixtures, and equipment; and collectibles.                                         0.00
                                                                                                       $_______________
     Copy line 43, Part 7.
                                                                                                         21,200.00
87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                          $_______________

                                                                                                                                            1,900,000.00
                                                                                                                                          $________________
88. Real property. Copy line 56, Part 9. . .................................................................................. 
                                                                                                         0.00
89. Intangibles and intellectual property. Copy line 66, Part 10.                                      $_______________

                                                                                                      104,000.00
90. All other assets. Copy line 78, Part 11.                                                      + $_______________
                                                                                                         144,611.30                        1,900,000.00
91. Total. Add lines 80 through 90 for each column. ........................... 91a.                   $_______________           + 91b. $________________

                                                                  2,044,611.30                                                                                   2,044,611.30
92. Total of all property on Schedule A/B. Lines 91a + 91b = 92. ...........................................................................................   $__________________




Official Form 206A/B                                                     Schedule A/B: Assets  Real and Personal Property                                             page 8
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 Debtor 1                                                         _                  Case number (if known)
               First Name    Middle Name    Last Name



                                                Continuation Sheet for Official Form 206 A/B
4) Other cash equivalents

Check 1515 United Steelworkers of                             $65.00
America

Check 242           McCance July Aug Rent                     $120.00

Check 2095 Peters Painting                                    $250.00


50) Other machinery, fixtures, and equipment (excluding farm machinery and equipment)

Ohio Body Mfg                                                  estimation                          2,000.00
Trailer AXEV-1498

977 Cat Trxcavator                                             Estimation                          5,000.00
53A6822

Vintage Drott Skid                                             estimation                          5,000.00
Shovel Model6K3

4 Trailers                                                     estimation                          2,000.00

Tractor Trailer 201                                            estimate                            1,000.00

Case 880C Excvator                                             estimation                          3,000.00

Michigan 85iii                                                 estimation                          3,000.00
front end loader


74) Causes of action against third parties (whether or not a lawsuit has been filed)

Glenn Mowry  524                    Unpaid rent from           84,000.00                           84,000.00
8th Street                          July 2015 to
Irwin PA 15642                      present taking up
                                    multiple trailers
                                    and storage units
                                    with unknown items.

Robert Biros d/b/a                  Unpaid rent for2           20,000.00                           20,000.00
Biros Mobile Home                   trailers placed on
Park 1 Biros Hill                   U Lock property in
Way    White Oak PA                 or around 2017.
 15131

Christine Biros                     Action to recover          200,000.00                          Unknown
                                    costs and fees for
                                    improvements to U
                                    Lock property
                                    while acting as
                                    trustee including
                                    road work,
                                    blacktop,
                                    maintenance

Christine Biros                     Action in money            33,000.00                           Unknown
                                    paid by mistake or
                                    unjust enrichment




Official Form 206 A/B                                           Schedule A/B: Property
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 Debtor 1                                                          _                  Case number (if known)
               First Name    Middle Name    Last Name



                                                Continuation Sheet for Official Form 206 A/B
for payment of
                                    property taxes to
                                    the extent debtor
                                    does not own 14140
                                    Route 30, N
                                    Huntingdon

Christine Biros                     11 USC Section              29,950.00                           Unknown
435 Millers Lane                    362(k)(1) Wilful
Plum Borough PA                     violations of the
15239                               bankruptcy
                                    automatic stay
                                    including actual
                                    and punitive
                                    damages




Official Form 206 A/B                                            Schedule A/B: Property
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 ATTACHMENT TO SCHEDULE A/B AS TO REAL PROPERTY


       U Lock Inc. believes that it maintains a claim to the real property at 14140
 U.S. Route 30, North Huntingdon, Pennsylvania, because:

    1. To the extent Christine Biros owns it pursuant to a constructive trust, said
       trust constitutes an unsecured claim.

    2. While the Court released a deed pursuant to an ex parte Order filed on
       January 26, 2022, with the Westmoreland Recorder of Deeds, said deed
       merely states that the 2015 deeds were void ab initio. Both the Court of
       Common Pleas and the Superior Court of Pennsylvania affirmed the validity of
       the deeds to U Lock issued in 2018 and advised that said deeds transferred
       the property to U Lock. The deeds filed did not extinguish those deeds in any
       manner.

       In other words, there are three sets of deeds with the Westmoreland Recorder
       of Deeds: The 2018 deeds to U Lock that were declared valid. The 2015
       deeds to U Lock declared invalid. The 2022 filed deed to Christine Biros that
       purports to be based on the void 2015 deed but does not mention and cannot
       mention the valid 2018 deeds.

    3. The Court of Common Pleas lacked jurisdiction to render its ex parte Order in
       January 2022 because the Supreme Court of Pennsylvania and the Superior
       Court of Pennsylvania did not remit the record. In Pennsylvania, jurisdiction
       does not return to the Court of Common Pleas until the judgment of the
       Superior Court is remitted and filed on the docket. This did not occur.
       Christine Biros’ attorney’s paralegal called the judge’s law clerk in January
       2022 and misrepresented the procedural posture.

    4. U Lock has a pending challenge to the judgment from January 2022 with the
       Superior Court of Pennsylvania. This challenge is stayed due to the
       bankruptcy.

    5. U Lock will be filing an adversary proceeding once the case is transferred to
       Chapter 11 where it will seek to challenge the conveyance of the deed,
       declare it a preference, declare the constructive trust an unsecured creditor,
       and to raise a claim to reverse the involuntary conveyance as a result of
       Christine Biros’ knowledge that U Lock was insolvent and she sought priority.

    6. U Lock maintains the available financing to return all of Christine Biros’ money
       along with Pennsylvania’s statutory interest that she is entitled to.
